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 6                           UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF WASHINGTON
 7                                    AT SEATTLE
 8
 9   UNITED STATES OF AMERICA,
10
                          Plaintiff,
11                                                         CASE NO. CR05-216JLR
            v.
12                                                         MINUTE ORDER
     RONALD ROWE, JR.,
13
14
                          Defendant.

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16
            The following minute order is made by the direction of the court, the Honorable
17
18   James L. Robart:

19          The court has previously granted the motion to take the deposition of A.W. (Dkt.
20   # 74 granting Dkt. # 54). The court now grants the request to take the deposition by
21   closed circuit television and directs the United States to make arrangements to do so. To
22
     the extent that the court’s minute order of August 9, 2005 (Dkt. # 74) implies that the
23
     authorization to conduct the deposition by closed circuit television had previously been
24
     granted, the minute order is amended.
25
            The court is in receipt of Defendant Rowe’s motion to strike the deposition of
26
27   A.W. (Dkt. # 75). The court directs that all opposition to the motion shall be filed by

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     MINUTE ORDER – 1
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 1   4:30 p.m. on Tuesday, August 16, 2005, and sets oral argument on the motion for
 2   Wednesday, August 17, 2005, at 9:00 a.m.
 3
           Filed and entered this 10th day of August, 2005.
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 5                                                  BRUCE RIFKIN, Clerk
 6                                                            s/Mary Duett
                                                    By
 7                                                            Deputy Clerk
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     MINUTE ORDER – 2
